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                                                                              November 04, 2024
                                                                              CLERK, U.S. DISTRICT COURT
                                                                              WESTERN DISTRICT OF TEXAS

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                                                                           BY: ________________________________
 UNITED STATES DISTRICT COURT WESTERN DISTRICT OF TEXAS                                            DEPUTY




 JENNIFER KAY WALLACE, an individual,
 Plaintiff,
 V.
 VINTON GRAY CERF, an individual, and             Case No.
 GOOGLE LLC,                                                    6:24-cv-00577
 Defendants.



Complaint for Patent Infringement, Breach of Implied Covenant, Fraudulent
 Concealment, and Ongoing Conspiracy to Commit Fraud and Plagiarism
                             JURY TRIAL DEMANDED

Plaintiff Jennifer Kay Wallace (“Wallace”), appearing pro se, hereby files this Complaint

against Defendants Vinton Gray Cerf (“Cerf”) and Google LLC (“Google”) (collectively,

“Defendants”), and alleges as follows:

 1.   This is an action for patent infringement arising under the patent laws of the

      United States, 35 U.S.C. § 271 et seq., breach of implied covenant, fraudulent

      concealment, and ongoing conspiracy to commit fraud and plagiarism.


 2.   Wallace seeks injunctive relief and monetary damages.

                                         THE PARTIES

 3.   Plaintiff Jennifer K. Wallace is an individual residing in Denver, Colorado.

      Wallace is the founder and majority shareholder of Copernicus2 LLC




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     (“Copernicus2”) which owns the patent. Wallace developed the patent and

     conducted the business of Copernicus2, and personally communicated with the

     Defendants.

4.   Upon information and belief, Defendant Vinton G. Cerf is an individual residing in

     McLean, Virginia. Cerf is currently employed by Google as its Vice President and

     Chief Internet Evangelist. Outside of Google, Cerf is a luminary in his own right

     as one of the "Founding Fathers of the Internet". Traveling widely for keynote

     speaking engagements, Cerf also holds numerous advisory and board positions

     and maintains various active leadership roles promoting many technology-related

     organizations and initiatives throughout the world.

5.   Defendant Google is a corporation organized and existing under the laws of the

     State of Delaware, with its principal place of business at 1600 Amphitheatre

     Parkway, Mountain View, California 94043.

6.   Plaintiff reserves the right to join additional parties as plaintiffs in this action

     pursuant to Federal Rule of Civil Procedure 20(a), should further investigation or

     developments reveal other persons who assert rights to relief arising out of the

     same transaction, occurrence, or series of transactions or occurrences that form the

     basis of this complaint, and if any common questions of law or fact would arise.

     The potential joinder of such parties would be aimed at promoting judicial

     economy and the efficient resolution of potentially related claims.




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                              JURISDICTION AND VENUE


 7.   This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

      1331 and 1338(a) because this action arises under the patent laws of the United

      States, 35 U.S.C. § 271 et seq.

 8.   This Court has personal jurisdiction over Defendants because they have committed

      acts of patent infringement and have regularly conducted and solicited business in

      the State of Texas.

 9.   Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b) and

      1400(b) because Defendants have committed acts of infringement in this district

      and have regular and established places of business in this district.

                                FACTUAL BACKGROUND


10.   On November 27, 2001, the United States Patent and Trademark Office duly and

      legally issued U.S. Patent No. 6,324,586 (“the '586 Patent”), entitled “System for

      synchronizing multiple computers with a common timing reference.” A true and

      correct copy of the '586 Patent is attached hereto as Exhibit A.

11.   Copernicus2 is the owner by assignment of all right, title and interest in and to the

      '586 Patent, including the right to assert all causes of action arising under said

      patent and the right to any remedies for infringement of it.




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12.   The '586 Patent discloses and claims novel systems and methods for synchronizing

      multiple computers using timing signals from a global satellite system.

13.   In September 2005, Wallace contacted Cerf, who would soon join Google as its

      Vice President, to bring the '586 Patent to his attention. Wallace believed the

      technology disclosed in the '586 Patent could help solve technical problems

      Google was facing with its systems.

14.   On or about September 22, 2005, Wallace sent an email to Cerf attaching a copy of

      the '586 Patent and explaining its potential applications for Google’s systems. Cerf

      responded within hours, stating he would review the patent.

15.   Over the next 18 months, Wallace continued to follow up with Cerf regarding

      Google’s potential interest in the '586 Patent.

16.   On or about March 17, 2007, Cerf wrote to Wallace confirming that he had

      consulted with others at Google and that Google had “no specific interest in this

      capability at this time.”

17.   Upon information and belief, shortly after Cerf’s March 2007 email to Wallace,

      Google began developing its “Spanner” database system, which incorporates the

      technology claimed in the '586 Patent.

18.   Years later Google publicly stated that it began developing Spanner in 2007 as a

      core component of its AdWords global advertising platform, and subsequently

      built most of its other products and services to run on Spanner, including Google


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      Search, Gmail, YouTube, Google Cloud, and others. According to Google,

      Spanner runs continuously in every one of its data centers to synchronize the flow

      of data throughout Google’s entire global network.

19.   In March 2022, Wallace wrote to Cerf expressing her belief that Google had in fact

      used the technology disclosed in the '586 Patent as the basis for Spanner and other

      Google systems. Wallace provided Cerf with detailed research and analysis

      supporting her conclusion.

20.   Despite multiple requests from Wallace in email exchanges and other documented

      communications with Cerf from 2022-2024, Cerf has persistently failed to deny

      her allegations or provide any evidence to refute her research and analysis

      showing Google’s use of the '586 Patent technology.

21.   Upon information and belief, Cerf and Google have engaged in an ongoing

      conspiracy to conceal their use of the '586 Patent technology and to fraudulently

      take credit for its development, depriving Wallace of her rightful compensation

      and recognition.

                                           COUNT I

                   INFRINGEMENT OF U.S. PATENT NO. 6,324,586


22.   Plaintiff realleges and incorporates by reference the allegations set forth in

      paragraphs 1-21.




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23.   Defendants have directly infringed, literally and/or under the doctrine of

      equivalents, one or more claims of the '586 Patent in violation of 35 U.S.C. §

      271(a) by making, using, selling, and/or offering to sell in the United States,

      and/or importing into the United States, products and/or services that practice the

      inventions claimed in the '586 Patent, including but not limited to Google’s

      Spanner database system and related technologies.

24.   Defendants have indirectly infringed one or more claims of the '586 Patent in

      violation of 35 U.S.C. § 271(b) by actively inducing others to directly infringe the

      '586 Patent.

25.   Defendants have indirectly infringed one or more claims of the '586 Patent in

      violation of 35 U.S.C. § 271(c) by contributing to direct infringement of the '586

      Patent by others.

26.   Defendants’ infringement of the '586 Patent has been willful and deliberate.

27.   As a direct and proximate result of Defendants’ infringement of the '586 Patent,

      Plaintiff has been and continues to be damaged in an amount to be determined at

      trial.

28.   Defendants’ infringement of the '586 Patent has caused and will continue to cause

      irreparable harm to Plaintiff, for which there is no adequate remedy at law, unless

      enjoined by this Court.




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                                           COUNT II

          BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR

                                           DEALING

29.   Plaintiff realleges and incorporates by reference the allegations set forth in

      paragraphs 1-28.

30.   An implied covenant of good faith and fair dealing existed between Plaintiff and

      Defendants based on their communications and dealings regarding the '586 Patent.

31.   Defendants breached the implied covenant by secretly using the technology

      disclosed in the '586 Patent while representing to Plaintiff that they had no interest

      in it.

32.   As a direct and proximate result of Defendants’ breach, Plaintiff has suffered

      damages in an amount to be determined at trial.

                                          COUNT III

                             FRAUDULENT CONCEALMENT


33.   Plaintiff realleges and incorporates by reference the allegations set forth in

      paragraphs 1-32.

34.   Defendants had a duty to disclose their use of the '586 Patent technology to

      Plaintiff.




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35.   Defendants knowingly concealed material facts regarding their use of the '586

      Patent technology from Plaintiff.

36.   Defendants intended to deceive Plaintiff by concealing these material facts.

37.   Plaintiff reasonably relied on Defendants’ representations and concealment to her

      detriment.

38.   As a direct and proximate result of Defendants’ fraudulent concealment, Plaintiff

      has suffered damages in an amount to be determined at trial.

                                          COUNT IV

       ONGOING CONSPIRACY TO COMMIT FRAUD AND PLAGIARISM


39.   Plaintiff realleges and incorporates by reference the allegations set forth in

      paragraphs 1-38.

40.   Defendants knowingly and willfully conspired and agreed among themselves to

      defraud Plaintiff by concealing their use of the '586 Patent technology and taking

      credit for its development.

41.   Defendants have committed overt acts in furtherance of the conspiracy, including

      but not limited to making public statements claiming credit for developing the

      technology disclosed in the '586 Patent.




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42.    As a direct and proximate result of Defendants’ conspiracy, Plaintiff has suffered

       damages in an amount to be determined at trial.

                                  RIGHT TO AMEND

Plaintiff reserves the right to amend this complaint to add additional claims, parties, or

allegations as further information becomes available through investigation and discovery.

This reservation includes, but is not limited to, the potential addition of claims for

indirect infringement, willful infringement, or any other related causes of action that may

arise from the facts and circumstances surrounding this case. Plaintiff expressly reserves

all rights to supplement or amend this complaint as permitted by the Federal Rules of

Civil Procedure and the Local Rules of this Court.

                                PRAYER FOR RELIEF


WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in her favor

and against Defendants as follows:

   A. Adjudging that Defendants have infringed the '586 Patent;

   B. Ordering Defendants to account for and pay to Plaintiff all damages caused by

       their infringement of the ‘586 Patent;

   C. Adjudging that Defendants’ infringement has been willful and increasing the

       damages award accordingly;




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   D. Adjudging that Defendants have breached the implied covenant of good faith and

       fair dealing;

   E. Adjudging that Defendants have engaged in fraudulent concealment;

   F. Adjudging that Defendants have engaged in an ongoing conspiracy to commit

       fraud and plagiarism;

   G. Awarding Plaintiff her costs and reasonable attorneys’ fees;

   H. Awarding Plaintiff pre-judgment and post-judgment interest; and

   I. Granting Plaintiff such other and further relief as the Court deems just and proper.

                             DEMAND FOR JURY TRIAL


Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff hereby demands a trial by

jury on all issues so triable.

Dated: 11/03/2024
Respectfully submitted,




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